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 5
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 6   VI TRUONG
 7
 8                               UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                             Case No. 2:09-cr-00421-GEB
12                  Plaintiff,                             STIPULATION AND ORDER TO
                                                           VACATE SUBSTITUTION OF
13           v.                                            PROPERTY SECURING BOND
                                                           AND RETURN ORIGINAL
14   VI TRUONG,                                            PROPERTY TO THE COURT
15              Defendant.
     _____________________________/
16
17           IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18   Jason Hitt, counsel for plaintiff, and the below signed counsel for defendant Vi Truong that
19   the Court vacate the order signed on October 26, 2011, substituting the property securing the
20   defendant’s bond. Defendant respectfully requests that the original property proffered to
21   secure Mr. Truong’s bond remain with the Court as security for his bond.
22           After the October, 26, 2011 order was signed, the Court provided the property owner,
23   Sherry Hoang, with the original deed of trust and the substitution of trustee and full
24   reconveyance for each property. The original deed of trust and the substitution of trustee and
25   //
26   //
27   //
28   //
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 1   full reconveyance documents have been returned to the Clerk of the Court via express mail.
 2
 3         SO STIPULATED
 4
 5   DATED: December 1, 2011                          /s/ Douglas Horngrad
                                                      DOUGLAS I. HORNGRAD
 6                                                    Counsel for Defendant Vi Truong
 7
 8
 9   DATED: December 1, 2011                          /s/ Jason Hitt
                                                      JASON HITT
10                                                    Assistant U.S. Attorney
                                                      Counsel for Plaintiff
11
12         IT IS SO ORDERED.
13
14   DATED: December 2, 2011
15                                             /s/ Gregory G. Hollows
                                              UNITED STATES MAGISTRATE JUDGE
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